Case 2:05-cr-20223-.]PI\/| Document 42 Filed 07/22/05 Page 1 of 3 Page|D 38

FEEJBY“ZIZ:&M;

IN THE UNITED STATES DISTRIC'I' COURT
FOR THE WESTERN DISTRICT OF TEI\BEJ§§EQZ PH 22 00

WESTERN DIVI S ION
us esmmm

W (i»;’~- re FAEFMS

 

UNITED STATES OF AMERICA

Plaintiff,
Criminal No. 0§/- ZQZZ z Ml

(9 0 -Day Continuance)

f'£t/¢;Fz>¢>h¢/ F/w-./U
jfhmpr¢/ f//D/¢f/
A/{/A€ /£n§m

 

 

vs_/V`JVV\JVVV`.»VVVVVVV~_'V

Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL C‘ASE CON'I`INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

Thls document entered on the docket sheet In cempllance
with Hu|e 55 and/or 32(b )FRCrP on

z£/

Case 2:05-cr-20223-.]PI\/| Document 42 Filed 07/22/05 Page 2 of 3 Page|D 39

SO ORDERED this 22nd day of July, 2005.

M°CQQ

JO PHIPPS MCCALLA
'I'ED STATES DISTRICT JU'DGE

 

/ .q #’/7

As stant i ed States Att$rney

 

 

 

 

 

 

 

   

UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
Memphis7 TN 38105

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J on McCalla
US DISTRICT COURT

